               IN THE UNITED STATES DISTRICT COURT FOR THE
                       MIDDLE DISTRICT OF TENNESSEE
                          NORTHEASTERN DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
                                                    )
v.                                                  )     Criminal No. 2:11-00002
                                                    )     Judge Trauger
                                                    )
[21] TIFFANY BROOK NORRIS                           )

                                        ORDER

       It is hereby ORDERED that the revocation hearing scheduled for March 31, 2014 at

3:15 p.m. is RESET for the same day at 11:30 a.m.

       It is so ORDERED.

       ENTER this 31st day of March 2014.


                                                    ________________________________
                                                          ALETA A. TRAUGER
                                                            U.S. District Judge




Case 2:11-cr-00002      Document 1666       Filed 03/31/14     Page 1 of 1 PageID #: 4381
